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Laborers’ Union Local 429
81 Bridge Street, P.O. Box 1388, Lowell, MA 01853

{978} 452-7261

The Honorable Judge Jennifer Boal

United States Magistrate Judge for the District of Massachusetts
United States Courthouse

Boston MA 02210

RE: Walter Norton

Dear Judge Boal:

1am writing this letter on behalf of Walter Norton who is set to appear before you on April 23rd. lam
asking that you grant Walter Bail. | feel strongly that if given bail, Walter will comply with all stipulations
given to him.

| have Known Walter for roughly 20 years, and | have known members of Walters family much longer
than that. Walter is a great friend to me and some of our members from the Lowell Mass Local. If you
could Please Grant Walter Bail, | Will be able to Place him on one of our jobs. The area that | cover is the
Lowell Mass area, and some of the New Hampshire towns that border it. | cannot pinpoint the exact job
location at this time because this is our busy time of year and calls come in weekly for staffing. Typically
the hours are 7:00 AM to 3:30 PM with some overtime depending on the particular projects schedule. |
would gladly work closely with a pre trial probation officer and keep them informed of any change in
Walters schedule or job site.

| do not know the particulars of this case Your Honor, but | am sure Walter will take this opportunity if
you chose to give it to him very seriouly. Please consider granting Walter Bail your Honor. If you have
any questions for me, please call me anytime.

Thank you, Jim Cardillo ‘7 .
(978) 259-9798
Local 429 Field Supervisor

81 Bridge Street

Lowell Mass

EXHIBIT 2
